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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF KENTUCKY
                                    SOUTHERN DIVISION
                                          LONDON

 UNITED STATES OF AMERICA,                           )
                                                     )
        Plaintiff,                                   )
                                                     )        No. 6:22-CR-34-REW-HAI-2
 v.                                                  )
                                                     )                    ORDER
 TREY PANKEY,                                        )
                                                     )
        Defendant.                                   )
                                                     )

                                           *** *** *** ***

        After conducting Rule 11 proceedings, see DE 93 (Minute Entry), Judge Ingram recommended that

the undersigned accept Defendant Trey Pankey’s guilty plea and adjudge him guilty of Count One of the

Indictment (DE 1). See DE 94 (Recommendation); see also DE 96 (Plea Agreement). Judge Ingram

expressly informed Defendant of his right to object to the recommendation and to secure de novo review

from the undersigned. See DE 94 at 3. The established three-day objection deadline has passed, and no

party has objected.


        The Court is not required to “review . . . a magistrate [judge]’s factual or legal conclusions, under

a de novo or any other standard, when neither party objects to those findings.” Thomas v. Arn, 106 S. Ct.

466, 472 (1985); see also Berkshire v. Dahl, 928 F.3d 520, 530 (6th Cir. 2019) (quoting Kensu v. Haigh,

87 F.3d 172, 176 (6th Cir. 1996)) (alterations adopted) (noting that the Sixth Circuit has “long held that,

when a defendant does ‘not raise an argument in his objections to the magistrate [judge]’s report and

recommendation he has forfeited his right to raise this issue on appeal.’”); United States v. Olano, 133 S.

Ct. 1770, 1777 (1993) (distinguishing waiver and forfeiture); FED. R. CRIM. P. 59(b)(2)–(3) (limiting de

novo review duty to “any objection” filed); 28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those

portions” of the recommendation “to which objection is made”).



                                                     1
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        The Court thus, with no objection from any party and on full review of the record, ORDERS as

follows:


        1. The Court ADOPTS DE 94, ACCEPTS Defendant’s guilty plea, and ADJUDGES

            Defendant guilty of Count One of the Indictment (DE 1);

        2. Further, per Judge Ingram’s recommendation, the Defendant’s agreement, DE 96 ¶ 10,

            and an audit of the rearraignment hearing, the Court provisionally FINDS that the

            property identified in the Indictment’s Forfeiture Allegation, DE 1 at 4 (the relevant

            firearm), forfeitable. Defendant has an interest in said property, and the Court

            preliminarily ADJUDGES Defendant’s interest in such property FORFEITED.

            Under Criminal Rule 32.2, and absent pre-judgment objection, “the preliminary

            forfeiture order becomes final as to” Defendant at sentencing. Fed. R. Crim. P. 32.2

            (b)(4)(A). The Court will further address forfeiture at that time. See id. at (b)(4)(B);

            and

        3. The Court will issue a separate sentencing order. 1

        This the 2nd day of December, 2022.




1
 Judge Ingram remanded Pankey to custody post-plea, which preserved his status following arraignment. DE 93;
36. As such, Pankey will remain in custody pending sentencing, subject to intervening orders.

                                                       2
